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8                        UNITED STATES DISTRICT COURT

9                       EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,               No. 2:99-cr-00433 WBS
13                 Plaintiff,

14        v.                                 ORDER
15   JOHN THAT LUONG, MINH HUYNH, THY
     CHANN, and THONGSOUK THENG
16   LATTANAPHOM,

17                 Defendants.

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19                                ----oo0oo----

20              During proceedings regarding the resentencing of

21   defendant Thy Chann, his counsel suggested that the court could

22   resentence co-defendants John That Luong, Thongsouk Theng

23   Lattanaphom, and Minh Huynh, who have completed service of their

24   prison sentences in this case.      The court accordingly ordered

25   briefing from the government and these co-defendants on this

26   issue.    Luong, Lattanaphom, and Huynh assert that the court has

27   no power to resentence these defendants, and the government

28   agrees.
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1              Unfortunately, the government’s strategic choices

2    and/or inaction in this case have resulted in what amounts to a

3    windfall for these defendants.      While this court continues to

4    believe that the facts and relevant sentencing factors compel

5    imposition of substantially longer sentences upon defendants

6    Luong, Lattanaphom, and Huynh than they have served, the court is

7    unaware of any authority that would allow it to resentence these

8    defendants, or any defendants who have completed service of their

9    sentences.    To the contrary, for the reasons discussed by

10   defendants in their briefs and the government’s concessions, the

11   court must conclude that it has no such authority.         (See Docket

12   Nos. 2062, 2063.)

13             In light of this determination, the hearing set for

14   July 15, 2024 is hereby VACATED.      The government and defendant

15   Chann shall file forthwith a stipulation and proposed order with

16   a new resentencing date and any related deadlines for a revised

17   presentence report, objections, and sentencing memoranda, if

18   necessary.1

19             IT IS SO ORDERED.

20   Dated:   June 21, 2024
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          1    Because the court concludes that it has no authority to
     resentence Luong, Lattanaphom, or Huynh, at Chann’s resentencing,
27   it will consider any arguments regarding sentencing disparities
     between these defendants in light of their respective
28   culpability.
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